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ALAN R. SMITH, ESQ. #1449
HOLLY E. ESTES, ESQ. #11797

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Email: mail@asmithlaw.com
Attorney for Debtors
ANTHONY THOMAS and WENDI
THOMAS and AT EMERALD, LLC
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—oo0000—
In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and

WENDI THOMAS, Chapter 11 Cases
[Jointly Administered]

NOTICE OF ENTRY OF ORDER
GRANTING EX PARTE MOTION TO
FILE PURCHASE AND SALE
AGREEMENT UNDER SEAL

AT EMERALD, LLC,

Debtors.

/
PLEASE TAKE NOTICE that the above-entitled Court entered an Order Granting Ex
Parte Motion To File Purchase and Sale Agreement Under Seal [DE 89] on the 24" day of

 

June, 2014 (“Order”). A copy of said Order is attached hereto as Exhibit “A” and made a
part hereof.
DATED this 24" day of June, 2014.
LAW OFFICES OF ALAN R. SMITH
By: /s/ Alan R. Smith

ALAN R. SMITH, ESQ.
Attorney for Debtors

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Bye 7 Coals

 

 

 

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3 Honorable Bruce T. Beesley
United States Bankruptcy Judge
13 tered on Docket
dune 24, 2014
6
ALAN R. SMITH, ESQ. #1449
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THOMAS and AT EMERALD, LLC
12
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UNITED STATES BANKRUPTCY COURT
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DISTRICT OF NEVADA
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In Re: Case No. BK-N-14-50333-BTB
18 Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and Chapter 11 Cases
19 | WENDI THOMAS,
[Jointly Administered]
20
AT EMERALD, LLC, ORDER GRANTING EX PARTE
21 MOTION TO FILE PURCHASE AND
Debtors. SALE AGREEMENT UNDER SEAL
22 .
23 /
24 The Court having considered the Debtors’ Ex Parte Ex Parte Motion to File Purchase
25 || and Sale Agreement Under Seal (“Motion”), and good cause appearing therefor,
26 IT IS HEREBY ORDERED that the Motion is GRANTED.
27 IT IS SO ORDERED.
28 | ///

Reno, Nevada 89501

(775) 786-4579

 

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PREPARED AND SUBMITTED BY:
LAW OFFICES OF ALAN R. SMITH
By:___/s/ Holly EF. Estes

HOLLY E. ESTES, ESQ.

Attorney for Debtors

HHH

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